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November 28, 2018
Via Electronic Filing

Hon. Nina Gershon
United States District Court
Eastern District of New York
225 Cadman Plaza East aT
Brooklyn, NY 11201
Re: Brown v. Marriott International Inc.
Case 1:14-cv-05960-SLT-RLM

To The Honorable Nina Gershon:

We represent the defendant named in this action as Marriott International Inc. We
file this letter with the consent of plaintiff's counsel.

The Court set a schedule for filing a motion for summary judgment. We request a
10 day extension. Marriott International Inc.’s motion is currently due to
plaintiff's counsel on December 7, 2018; we respectfully request that the date be
moved to December 17, 2018. With that extension, Plaintiff's opposition would
now be due on January 14, 2019 and defense counsel shall serve the reply and file
the fully briefed motion in accordance to the Court’s bundling rule by January 21,

2019.

Thank you for your consideration in this matter,
Respectfully,

WADE CLARK MULCAHY LLP

Paul W. Vitale
PWV/dm

New York | NewJersey | Pennsylvania
